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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

STUDENTS FOR FAIR                                      §
ADMISSIONS INC.,                                       §
                                                       §
          Plaintiff,                                   §
                                                       §
v.                                                     §          Cause No. 1:20-cv-763-RP
                                                       §
UNIVERSITY OF TEXAS AT AUSTIN; et al.,                 §
     Defendants.                                       §


                                             ORDER

          Before the Court is Defendants’ Motion for Summary Judgment or Dismissal Based on Lack

of Standing, Res Judicata, and Collateral Estoppel. Having considered the motion, along with any

responses and replies on file, as well as the arguments and authorities presented therein, the Court

now enters the following order:

          IT IS ORDERED that Defendants’ Motion for Summary Judgment or Dismissal Based on

Lack of Standing, Res Judicata, and Collateral Estoppel is GRANTED.

          IT IS FURTHER ORDERED that this case is DISMISSED in its entirety for lack of subject

matter jurisdiction.




     SIGNED this the ________ day of _______________, 2021.




                                      _____________________________________________
                                      THE HONORABLE ROBERT PITMAN
                                      UNITED STATES DISTRICT JUDGE
